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12
                         UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
                                               PLAINTIFFS’ OPPOSITION TO
17   THIS DOCUMENT RELATES TO                  THE NFL DEFENDANTS’
     ALL ACTIONS                               MOTION IN LIMINE NO. 2 TO
18                                             EXCLUDE REFERENCE TO
                                               PRIOR LAWSUITS NOT
19                                             INVOLVING EITHER PARTY
20                                             JUDGE: Hon. Philip S. Gutierrez
                                               DATE: February 7, 2024
21                                             TIME: 2:30 p.m.
                                               COURTROOM:
22                                              First Street Courthouse
                                                350 West 1st Street
23                                              Courtroom 6A
                                                Los Angeles, CA 90012
24

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 1           Like the NFL Defendants’ companion Motion in Limine No. 3, which would
 2   have the jury screened from the entire, directly relevant history of litigation involving
 3   the NFL teams’ agreement to restrict their competition for broadcasting rights, the
 4   NFL Defendants’ Motion in Limine No. 2 seeks a wholesale exclusion of “trial
 5   arguments to the jury and testimony based on” sports broadcasting cases (the so-
 6   called “non-NFL cases”) relied upon by Plaintiffs’ experts “as well as references to
 7   the non-NFL cases themselves.” Mot. at 1.1 The NFL Defendants’ motion is an end-
 8   run attempt to eviscerate these experts’ opinions, including in particular by trying to
 9   prevent Plaintiffs’ sports economist Dr. Daniel Rascher from using his yardstick
10   methodology based on college football—for which NCAA v. Board of Regents of
11   University of Oklahoma, 468 U.S. 85 (1984) is central—to model class-wide injury
12   and damages.2
13           The NFL Defendants’ motion also is a red herring. None of Plaintiffs’ experts
14   will offer any legal opinion at all. To the contrary, their discussion of the subject
15   cases addresses the critically relevant purposes of showing what broadcast offerings
16   are feasible and what the norm can be in the absence of anticompetitive restraints.
17

18   1
       The “non-NFL cases” identified by the NFL Defendants are NCAA v. Board of
19   Regents of University of Oklahoma, 468 U.S. 85 (1984) (“NCAA”); Garber v. Office
     of the Commissioner of Baseball, No. 12-cv-3704, 2016 WL 749950 (S.D.N.Y. Jan.
20
     22, 2016) (“Garber”); Laumann v. National Hockey League, 907 F. Supp. 2d 465
21   (S.D.N.Y. 2012); Madison Square Garden, L.P. v. National Hockey League, No. 07-
     cv-8455, 2008 WL 4547518 (S.D.N.Y. Oct. 10, 2008); and Chicago Professional
22
     Sports Ltd. Partnership v. National Basketball Association, 754 F. Supp. 1336 (N.D.
23   Ill. 1991), aff’d, 961 F.2d 667 (7th Cir. 1992).
     2
       In its order denying summary judgment, this Court noted that it “has already found
24
     ‘Dr. Rascher’s [College Football But-For World] model adequate to produce class-
25   wide proof of impact and damages, especially considering that the Ninth Circuit has
     already recognized college football as a close analog to this case.’” Order Denying
26
     NFL Defendants’ Motion for Summary Judgment, ECF No. 1155, at 19 (Jan. 11,
27   2024) (quoting Class Certification Order at 18) (modifications in original). The NFL
     Defendants nonetheless also seek to exclude opinions of Dr. Rascher by their Motion
28
     in Limine No. 5.
                                                 1
         PLAINTIFFS’ OPPOSITION TO THE NFL’S MOTION IN LIMINE NO. 2 TO EXCLUDE REFERENCE TO
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 1   The experts’ use of these cases (including their findings and the changes that occurred
 2   in their wake) as relevant history and factual support for their economic analysis of
 3   the effects of lifting broadcast restraints is entirely appropriate and essential for the
 4   jury’s understanding of Plaintiffs’ case. Indeed, it would be strange if Plaintiffs’
 5   experts had not considered these legal histories, which present valuable natural
 6   experiments in analogous situations, in forming their opinions. Such evidence and
 7   testimony are in no way prejudicial and would not lead the jury astray from its charge
 8   in this case—though their exclusion would be severely prejudicial to Plaintiffs.
 9    I.   NCAA and Other “Non-NFL” Cases are Highly Relevant to the Analysis
           of Plaintiffs’ Experts, And Are Not Offered for Legal Arguments
10

11         The NFL Defendants’ motion as it relates to NCAA could hardly be broader:
12   it seeks to exclude “[a]ny discussion of the NCAA case offered by Plaintiffs’ experts,
13   including references to the facts of NCAA and how they compare to the facts of this
14   case.” Mot. at 3-4. Simply put, the restraints at issue in NCAA, what was found to be
15   anticompetitive and unlawful about those restraints, and what happened to the
16   broadcast market and competition before and after those restraints were enjoined is
17   central to Plaintiffs’ case on liability, impact, and damages.
18         For his “yardstick” damages methodology, Dr. Rascher “chose to use the
19   college football market as the yardstick, which the Ninth Circuit has recognized as a
20   close analog in this case.” ECF No. 894 (Feb. 7, 2023) (Class Certification Order), at
21   13 (citation omitted). And in doing so, Dr. Rascher considered the effect of increased
22   competition in the college football market as well as “other important factors about
23   the structural similarities between college and professional football,” which provided
24   “a valid basis to use college football as a yardstick.” Id. The jury’s understanding of
25   that methodology turns on understanding the central role of the restraints that were
26   enjoined in NCAA. As the Ninth Circuit observed, commentators documented the
27   increased competition and explosive proliferation of televised college football games
28   after conferences and teams became free to sign their own broadcasting deals
                                                2
       PLAINTIFFS’ OPPOSITION TO THE NFL’S MOTION IN LIMINE NO. 2 TO EXCLUDE REFERENCE TO
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 1   following the decision in NCAA eliminating the restrictive agreements. See In re
 2   Nat’l Football League’s Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1148 (9th Cir.
 3   2019) (observing that the number of televised college football games grew
 4   “exponentially” in the wake of NCAA) (“NFLST”).
 5         Indeed, the NFL’s own expert witness (and former CBS Executive Vice
 6   President) Neal Pilson confirmed as much in testimony before Congress in the
 7   summer of 1984, in which he provided new scheduling data to confirm “that in 1984
 8   more college football games will be available, and more viewers will watch college
 9   football, than ever before in the history of the sport.” Maida Decl., Ex. 1 (Exhibit 5
10   of the Deposition of Neal Pilson, Hearing before the Subcommittee on Oversight and
11   Investigations of the Committee on Energy and Commerce) at 129, 132 (“[I]t is clear
12   to us that the result of the Supreme Court's decision will be a more freely competitive
13   market which will better serve the American television viewer. That viewer will be
14   offered a greater and more diverse sample of college football games than he has ever
15   been offered before.”). The Ninth Circuit similarly emphasized the relevance of the
16   NCAA’s history in this litigation. See NFLST, 933 F.3d at 1146-47 (noting that
17   “[l]ike the NFL, the NCAA had a long-standing restriction on televising team games”
18   and recounting that history). “Just as the University of Oklahoma[, the University of
19   Georgia, and, e.g., Notre Dame] w[ere] forbidden from increasing the number of
20   telecasts made of its games, so too are the Seattle Seahawks forbidden from selling
21   their telecast rights independently from the NFL.” Id. at 1151.
22         Now, the NFL Defendants seek to gut the relevance of Dr. Rascher’s college
23   football model by untethering it from the NCAA decision that explains historically
24   how the changes were precipitated and serves as the inflection point for the economic
25   analysis of their effects. Dr. Rascher’s reference to NCAA for those purposes is
26   essential for the jury’s clear understanding and entirely appropriate. See, e.g.,
27   Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1056 (9th Cir. 2008)
28   (striking “only those portions of the report that discuss the law and its application.”);
                                                3
       PLAINTIFFS’ OPPOSITION TO THE NFL’S MOTION IN LIMINE NO. 2 TO EXCLUDE REFERENCE TO
                           PRIOR LAWSUITS NOT INVOLVING EITHER PARTY
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 1   Finjan, Inc. v. Sophos, Inc., No. 14-cv-01197, 2016 WL 4560071, at *9 (N.D. Cal.
 2   Aug. 22, 2016) (allowing introduction of a prior lawsuit given its relevance to
 3   damages, the relationship and history between the parties, and defendant’s defense);
 4   Drummond Coal Sales, Inc. v. Norfolk S. Ry. Co., No. 7:16-cv-489, 2019 WL
 5   3307850, at *7 (W.D. Va. July 22, 2019) (denying plaintiffs’ motion in limine to the
 6   extent defendant’s references to prior litigation are “for the purpose of providing
 7   some history and context as to the present dispute”), order clarified, No. 7:16-cv-
 8   489, 2019 WL 4197221 (W.D. Va. Sept. 4, 2019).
 9           The authorities relied upon by the NFL Defendants—including cases
10   involving witnesses who offered purely legal opinions and conclusions on the
11   ultimate legal issues in dispute—are inapposite here.3 Neither Dr. Rascher nor any
12   of Plaintiffs’ experts will invade the role of the Court or the jury. Even those portions
13   of Plaintiffs’ expert reports that the NFL Defendants cherry-picked as purportedly
14   inappropriate, see Mot. at 2-3, are discussions that are factual or historical in nature,
15   and are offered to support the experts’ opinions or to rebut the NFL Defendants’ own
16   expert opinions regarding the “non-NFL” cases. See ECF No. 962-4, Expert Report
17

18   3
       See KB Home v. Illinois Union Ins. Co., No. 8:20-cv-00278, 2023 WL 3432139, at
19   *4 (C.D. Cal. Mar. 28, 2023) (exclusion of expert’s testimony that was an
     “expositions of legal principles and rules, interpretation of the Policy, and
20
     conclusions as to ultimate legal issues in dispute—i.e., whether coverage existed
21   under the Policy and whether IUIC breached its duties to KB Home.”); SA Music
     LLC v. Apple, Inc., 592 F. Supp. 3d 869, 902 (N.D. Cal. 2022) (excluding expert’s
22
     opinions because they were “bald legal conclusions” and most of her report was an
23   “overview of how various aspects of copyright law work”); Relevant Grp., LLC v.
     Nourmand, No. CV 19-05019, 2022 WL 18356631, at *2 (C.D. Cal. Dec. 9, 2022)
24
     (excluding expert’s testimony that a settlement was “purely extortionate” and the
25   defendant’s lawsuits were “without regard to the merits” where the ultimate issue
     was whether the sham petitioning exception applied); Zeiger v. WellPet LLC, 526 F.
26
     Supp. 3d 652, 680 (N.D. Cal. 2021) (excluding the opinions of a lay witness
27   regarding compliance with AAFCO and FDA regulations given that they are legal
     conclusions, but allowing the witness to “state the facts underlying his view on
28
     compliance”).
                                                 4
         PLAINTIFFS’ OPPOSITION TO THE NFL’S MOTION IN LIMINE NO. 2 TO EXCLUDE REFERENCE TO
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 1   of Daniel A. Rascher, dated February 17, 2023 (“Rascher Rep.”) ¶¶ 157–61 (factual
 2   and historical discussion supporting his opinion regarding anticompetitive effects),
 3   29, 93 n.105, 326–29 (factual comparison to college football for yardstick analysis
 4   of damages and anticompetitive effects), 182-84, 202 (factual support for opinion on
 5   market definition and damages); ECF No. 962-5, Expert Reply Report of Daniel A.
 6   Rascher, dated June 9, 2023 (“Rascher Reply Rep.”) ¶¶ 396–400 (support for his
 7   opinion regarding less restrictive alternatives); ECF No. 962-30, Expert Rebuttal
 8   Report of Leonard DeLuca, dated June 8, 2023 (“DeLuca Rebuttal Rep.”) ¶¶ 4, 38
 9   n.38, 49–53, 75, 82 n.97, 83 (discussion regarding factual, historical, and business
10   issues of college football, and rebuttal of NFL Defendants’ expert opinions); ECF
11   No. 962-29, Expert Rebuttal Report of Einer Elhauge, dated June 9, 2023 (“Elhauge
12   Rebuttal Rep.”) ¶ 24 (rebutting opinion of the NFL Defendants’ expert, Prof.
13   Bernheim, regarding the NCAA decision and college football).
14           And for the avoidance of doubt, Plaintiffs’ experts have expressly stated that
15   they are not offering any legal opinions and specifically declined to do so when asked
16   in deposition questions that invited such conclusions. 4
17   II.     The “Non-NFL” Cases are Intrinsically Relevant to Plaintiffs’ Expert
             Analyses, Substantially Outweighing Any Purported Prejudice
18

19           The NFL Defendants argue that reference to the “non-NFL” cases would be
20   irrelevant and prejudicial because they “address[] a different broadcasting
21   arrangement, by a different entity, in a different market.” Mot. at 4. That is hardly
22   4
       See, e.g., Maida Decl., Ex. 2 (Rascher Dep.) at 108:7-16 (“this may be a legal
23   question for you and other lawyers and the Court”); 139:14-140:7 (“I don’t want to
     say legally, you know, who owns the right”); Ex. 3 (DeLuca Dep.) at 60:10-21 (“I
24
     hope you’re not asking me here for a legal opinion”); Ex. 4 (Elhauge Dep.) at 62:5-6
25   (“Sorry. I’m not opining on any questions of law.”); id. at 39:12-13 (“I’m not opining
     on the scope of the SBA because that’s a legal question.”); id. at 39:25-40:1 (“That’s
26
     a legal question, and I don’t want to give an opinion on legal issues.”); id. at 19:4-5
27   (“I don’t want to offer any legal opinions”); id. at 113:2-4 (“the scope of the SBA …
     is a legal issue on which, you know, I am not opining on that.”); id. at 142:19-20 (“I
28
     am … not offering any opinions on legal topics.”).
                                                 5
         PLAINTIFFS’ OPPOSITION TO THE NFL’S MOTION IN LIMINE NO. 2 TO EXCLUDE REFERENCE TO
                             PRIOR LAWSUITS NOT INVOLVING EITHER PARTY
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 1   surprising, since the NFL Defendants’ broadcast restraints remain in place; those
 2   accusations could be leveled against virtually any yardstick analysis and in truth are
 3   really an attack on antitrust economics altogether. Dr. Rascher’s yardstick analysis
 4   relies upon college football because competition among teams and conferences
 5   changed, and indeed grew exponentially, after those restraints were lifted following
 6   NCAA. See NFLST, 933 F.3d at 1148.
 7           Likewise, the Garber (MLB) and Laumann (NHL) cases illustrate, within
 8   professional sports leagues, the economic consequences of restraints imposed by
 9   horizontal agreements among teams. And the cases are relevant in particular to show
10   economically whether separate team telecasts in professional sports are feasible, and
11   in fact, the default norm absent such an agreement. Those principles go directly to
12   the NFL Defendants’ arguments here claiming to the contrary. 5 Were that not
13   enough, the Ninth Circuit also agreed that the National Hockey League and Major
14   League Baseball are “comparable sports leagues,” in which “‘each team owns the
15   initial right to control telecasts of its home games.’” Id. at 1154 (quoting Laumann v.
16   NHL, 907 F. Supp. 2d 465, 473, 485 (S.D.N.Y. 2012) and citing New Boston
17   Television, Inc. v. ESPN, No. 81-1010, 1981 WL 1374, at *1 (D. Mass. Aug. 3, 1981)
18   (“The copyright of the teleplays of all Red Sox games is owned by the Red Sox.”)).
19   And the NFL Defendants’ own economic expert, Dr. B. Douglas Bernheim,
20   repeatedly cites to Laumann in his own expert report to provide “industry
21   background” on game telecasting in other professional sports. See ECF No. 956-10,
22   Expert Report of Douglas Bernheim, dated April 28, 2023, ¶¶ 112-124.
23

24   5
       The NFL Defendants’ assertion that mention of Garber would devolve into a “mini-
25   trial” to “explain the differences between the legal and factual points at issue in that
     case” is a canard. While there may be some additional questioning for the limited
26
     purposes for which the case would be discussed, the “non-NFL” cases have not been
27   invoked to disprove the procompetitive justifications proffered by the NFL
     Defendants in this case, the purported distinctions raised by the NFL Defendants. See
28
     Mot. at 5.
                                                 6
         PLAINTIFFS’ OPPOSITION TO THE NFL’S MOTION IN LIMINE NO. 2 TO EXCLUDE REFERENCE TO
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 1          Finally, even if the Court harbored a concern that the mere introduction of
 2   these highly relevant cases would “lead the jury astray,” Mot. at 4, that could be
 3   addressed with an appropriate instruction. Courts are mindful that a jury is presumed
 4   to take its role seriously and to carry out its fact-finding mission competently and
 5   thoroughly. Francis v. Franklin, 471 U.S. 307, 324 n.9 (1985) (jurors are “conscious
 6   of the gravity of their task” and pay close attention and carefully follow a judge’s
 7   instructions). See United States v. Boulware, 384 F.3d 794, 808 (9th Cir. 2004) (“Any
 8   danger that the jury would have given undue weight to the state court judgment could
 9   have been dealt with by a cautionary instruction.”); Twentieth Century Fox Film
10   Corp. v. Brookside Theatre Corp., 194 F.2d 846, 853 (8th Cir. 1952) (no error in
11   portions of the final decree and factual findings and conclusions of law from a
12   previous decision being read into the record, where the trial court instructed that the
13   jury could not base its decision simply on the prior outcome).
14   III.   Conclusion
15          For the foregoing reasons, the NFL Defendants’ motion should be denied.
16

17   Dated: January 19, 2024                Respectfully submitted,
18

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